CaSe 6:18-CV-06229-C.]S Document 1 Filed 03/20/18 Page 1 of 35

Rcviscd 03/06 wDNY UNITED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF NEVV YORK

 

FORM TO BE USED IN FILING A ClVlL COMPLAINT IN FEDERAL COURT
(Non-Prisoner Context)

Al] material filed in this Court is now available via the IN'I`ERNET. See Pro Se Privacy Notice for further information

l. CAPTIONOFACTION 18 cv 62 29 CS>

A. Full Nam€ OfPlainflff! NOTEZ ]fmore than one plaintifffiles this action and seeks informapauperis status, each plainti]Y
must submit an in forma pauperis application or the only plaintifflo be considered will be the plaintiffwhojiled an application

 

k\CLS:;)Y\ @)c\\\¢£ u m

 

 

 

 

 

 

_vs_
B. Fllll Name(S) OfDefendant(S) NOTE: Pursuant to Fed.R.Civ.P. ]0(a), the names ofallparties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant Add a S€pal'at€ Sheet, ifnCCeSSal'y.
l. ('=.-t.tllw~.t. he tidewaan Cor? 4-
2.
3. 6.

 

 

 

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
A ll of these sections MUST be answered

ldentify the basisforfederal Courtjurisdiction overyour claim, such as that the United States government is aparty to the action, all the '
parties reside in different states and therefore you claim diversityjurisdiclion, or the claim presents afederal question or arises under
federal law.

 

A. Basisofiurisdictionin Federatcoun; `

LW»€ c-f`~tc/\ \°`>Bl ‘ ~ll'\\; t/'t>a re lr\uj Su-alemm€ql `E`\,Lr\selic_¢l~,rcv\ ou®uqn'£. 44 t>w'$i.g~rl: "E,C
145 u-s-c Sc,d=\c~ \%t»"l CQ) l l

State why the Western District ofNew York is the proper venuefor this action, such as thatyour claim arises in or the defendant resides
in the 17 westermnost counties ofNew York State.

B. Reason for Venue in the Westem District:-

 

Identijj) the nature ofthis action, such as that it is a civil rights claim, apersonal injury orpersonalproperty (tort) claim, aproperty rights
claim, or whatever it is.

C. Nature of Suit:

 

 

 

CaSe 6:18-CV-06229-C.]S Document 1 Filed 03/20/18 Page 2 of 35

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORl\’IATION NOTE: To list additional plaintiffsl use thisformat on another sheet ofpaper.
Name of First Plaintiff: batson ch¢ \\A L.Lh/t
Pi‘esent Address: L~l be §§ "'\_;wm/Yre Sl~YL<.t:

 

Name of Second Plaintiff: A////l"
Present Address:

 

 

DEFENDANT’S lNFORMATION NOTE: To list additional defendantsl use thisformat on another sheet ofpaper.
Name ofFirst Defendant: ball me be ve l ami/toni (:t;rmt ml- t t ~
Official Position of Defendant (if relevant): lpn ga g wm ga ‘; l
Address ofDefendant: l°$ ct O »Cbc)a't`z"v\ \M m£r/v\ aaa ii \_ gut~l;»t- lOC
l)\r)o`\/\€,‘EA LA_ Ll-`{- l‘-ltt l'~`/

Name of Second Defendant: h/j/l"
Ofticial Position of Defendant (if relevant):
Address of Defendant:

 

 

 

Name of Third Defendant: /\////t’"
Official Position of Defendant (if relevant):
Address of Defendant:

 

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any othe‘rlysuits in state or federal court dealing with the same facts involved in this action?
Yes No

 

If Yes, complete the next section NOTE: ]f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

l. Name(s) of the parties to this other lawsuit:

Plaintiff(s):

 

 

O\lJ\-AL»J

Case 6:18-CV-06229-C.]S Document 1 Filed 03/20/18 Page 3 of 35

Defendant(s): /`///7`

 

 

 

 

 

Court (if federal court, name the district; if state court, name the county): /(/_/ /F'
Docket or lndex Number: /\// /['

Name of Judge to whom case was assigned: /\//%’

The approximate date the action was filed: /\/ /”'

 

What was the disposition of the case?
Is it still pending? Yes No "/

If not, give the approximate date it was resolved.

 

Disposition (check those statements which apply):
Dismissed (clieck the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for

plaintiff
defendant.

 

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simrnons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. ]0(b) states that “[a]ll averments of claim shall be made in numbered paragraphs, the contents of each of

5. STATEMENT OF CLAIM

which shall be limited as far a practicable to a single set of circumstances.”

 

A. FIRST CLAIM: On (date of the incident)

 

defendant (give the name and (ifrelevant) the position held of each defendant involved in this ittcident)

 

 

Case 6:18-CV-06229-C.]S Document 1 Filed 03/20/18 Page 4 of 35

did the following to me (brt'e/l__i-' state what each defendant named above did):

 

 

 

 

 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

 

 

 

B. SECOND CLAIM: On (date of the incident)

 

defendant (give the name and (jrelevant) position held of each defendant involved in this incident)

 

 

 

did the following to me (brt`efly state what each defendant named above did):

 

 

 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

 

 

 

If you have additional claims, use the above format to set them out on additional sheets of paper.

 

Case 6:18-CV-06229-C.]S Document 1 Filed 03/20/18 Page 5 of 35

6. SUMMARY OF REL]EF SOUGHT

Snmmtn'i:e tlte relie/`reqnested l)_v_\’ott in each statement <)_/`c'laim above

 

 

 

 

 

Do you want a jury trial? Yes ‘/No

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 3/20 / /
(date)

 

NOTE: Each plaintijf must sign this complaint andnj also sign all subsequent papet's_filed with the Court.

wald A¢,M.
/ .

 

 

Signature(s) of Plaintiff(s)

Case 6:18-cV-06229-C.]S Document 1 Filed 03/20/18 Page 6 of 35

|n The United States District Court
for the Western District of New York

lason Ba|kum,
P|aintific Civil Action No:
COMPLA|NT
JURY TR|AL DEMANDED

Ga||ina Deve|opment Corporation.

Defendants

 

1. lNTRODUCT|ON

P|aintitflason T. Ba|kum, appearing pro se, bring this complaint against

Ga||ina Deve|opment Corporation (Ga||ina Deve|opment), and allege upon
personal knowledge as to himself as to his own acts, and as to a|| other matters
upon information and belief, as follows:

ll. NATURE OF THE ACT|ON

1. P|aintifflason T. Ba|kum, bring this action under Tit|e Vl| ofthe Civi|
Rights Act of 1964, 42 U.S.C. section 2000, et. Seq; and the New York
Human Rights Law, 15 N.Y. Executive Law sections 291 et. seq,' for
compensatory damages and punitive damages arising from the acts of
employment discrimination, racial discrimination, and hostile
workplace harassment against me by the Ga||ina Deve|opment
Corporation.

|ll. PART|ES

2. Plaintifflason Ba|kum is an African-American male citizen and resident
ofthe State of New York, Who has been injured by the acts and
practices described herein.

1.

Case 6:18-cV-06229-C.]S Document 1 Filed 03/20/18 Page 7 of 35

. Defendant Ga||ina Deve|opment Corporation is a private company in
the State of New York, with a principle place of business located at
1890 South Winton Road Rochester, New York 14649.

lV. JUR|SD|CT|ON AND VENUE

. The Court has jurisdiction over this matter pursuant to 28 U.S.C. section
1331. The Court has supplemental jurisdiction over P|aintiff's related
claims arising under New York State law pursuant to 28 U.S.C. section
1367(a).

. Venue is proper in this district pursuant to 28 U.S.C. section 1391(b)
because the events giving rise to this action, including employment
practices alleged herein, occurred in this district.

GE!\!ERAL ALLEGAT|ONS
. ln luly of 2017, P|aintifflason T. Ba|kum, formerly a temporary
employee that had been assigned to work at a job site of the
Defendant, filed a charge of discrimination with the EEOC alleging
violations of Tit|e V|| by the Defendant.

. Al| conditions precedent to the institution of this lawsuit have been
fulfilled. Specifica||y, on December 21, 2018, the EEOC issued plaintiff a
Right To Sue Letter in this matter (See Exhibit copy of Right To Sue
Letter dated December 21, 2018).

V. FACTUAL ALLEGAT|ONS

. There are very few black individuals working as direct hires as
construction laborers for Ga||ina Deve|opment Corporation. ln addition
there are very few, if any individuals with criminal records working for
the Ga||ina Deve|opment Corporation.

2.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 8 of 35

9. Upon information and belief, the Ga||ina Deve|opment Corporation has
come under scrutiny for having the illegal hiring practice of refusing to
hire African-Americans and individuals with criminal records as direct
hires with Ga||ina Deve|opment Corporation to work as construction
laborers on its job sites.

10.Upon information and belief, as a result the Ga||ina Deve|opment
Corporation entered into an agreement with a temporary staffing
agency named the Rochester Business A||iance Staffing (RBA Staffing)
that would enable Ga||ina Deve|opment to allow African-Americans
and individuals with criminal records to be employed on Ga||ina
Deve|opment’s job sites as construction laborers through a program
known as the one job alliance which was created to help individuals
facing employment discrimination because of having criminal records
obtain employment.

11.Upon information and belief, the one job initiative program allows the
Defendant to avoid further scrutiny for its hiring practices by allowing
blacks and individuals with criminal records to work as construction
laborers on its job sites, and at the same time enable the Defendant to
continue to refuse to hire blacks and individuals with criminal records
as direct hires with the Defendant's company on its construction job
sites.

12.|n December of 2015, l was hired by RBA Staffing through its one job
initiative program as a temporary general construction laborer to work
at the former Chase Tower in downtown Rochester, New York that is
being redeveloped into luxury apartments and retail stores by Ga||ina
Deve|opment Corporation, and is now named the Metropo|itan.

13. The P|aintiff's job tasks required demolition of dry wa|l, wooden wal|s,
removal of pipes, removal of fixtures from ceilings, removing furniture
that had been left behind on the floors from the former offices that
were inside of the Metropo|itan as well as other things as needed and
required.

3.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 9 of 35

14. l was told to report to a supervisor working for the Ga||ina
Deve|opment Corporation named Brett Gaurette. Another African-
American named Wi|lie Randa|| was also hired by RBA Staffing to work
at the Metropo|itan on the same day. At the time Brett Gaurette
supervised four individuals that had been hired as General Construction
Laborers from temporary staffing agencies.

15. The P|aintiff, Wi|lie Randa|| and a Caucasian named l\/like Stubbs were
from RBAStaffing, and another Caucasian named Dwayne Fe|ong was a
hire from another temporary agency now known as People Ready. l\/like
Stubbs had been hired by RBA Staffing to work as a temporary general
construction laborer at the l\/|etropolita in or around May of 2015, ln
addition to being Caucasian, l\/like Stubbs is also Brett Gaurette's
personal friend.

16. From the very first day that | began working there Brett Gaurette asked
me ”which one of you has the criminal record”? | did not answer the
question. However, not a week would go by without Brett Gaurette
asking me that question. Finally, one day l told him that l was the one
with the criminal record.

17. After that Brett Gaurette began telling contractors who had been hired
by Ga||ina Deve|opment Corporation to work at the Metropo|itan to
watch me because | had a criminal record.

18. One day in l\/lay of 2015, l\/|ike Stubbs alleged that someone had stolen
some food from him out a refrigerator, and had also stolen $10. 00 of
$25.00 dollars from him.

19. Despite the fact that several of the contractors shared the same
refrigerator, and also had unfettered and unsupervised access to the
floor that the alleged thefts had taken place on he called a meeting
consisting only of the P|aintiff, Wi|lie Randall, l\/like Stubbs, and Dwayne
Felong.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 10 of 35

20. Brett Gaurette began yelling and screaming about the alleged thefts
from l\/like Stubbs and the P|aintiff, Wil|ie Randa|l, and Dwayne Fe|ong
all just sat there and listened.

21.Then all of a sudden Brett Gaurette looked at me and started yelling
”what about you l”? You don’t have anything to say"? | responded that
l did not have anything to say because l did not know anything about
anything having been taken from l\/like Stubbs.

22. Plaintiff stated that several other contractors shared the same
refrigerator that l\/like Stubbs kept his food in along with the fact that
they also had unsupervised and unfettered access to both the
refrigerator , and the floor where the thefts had allegedly taken place.

23.Plaintiff also stated that Wil|ie Randa|| and Dwayne Fe|ong had not said
anything either, but that he was only addressing that question to me.
Final|y the Plaintiff asked him why didn't he ask any ofthe contractors
who has unsupervised and unfettered access to the floor and the
refrigerator to attend this meeting.

24. Brett Gaurette's response was that he did not supervise them and
”that's why l did not call them to this meeting”. After that the meeting
ended. Subsequent|y, Brett Gaurette obtained lockers for the P|aintiff,
Wi|lie Randa|l, l\/like Stubbs, and Dwayne Fe|ong to keep our personal
belongings in along with tools that he gave us to perform ourjob tasks
with.

25.Then the following month in June of 2016, Brett Gaurette called
another meeting alleging that Dwayne Fe|ong had informed him that
tools that we used for our job tasks were missing. Again, no one said
anything.

26. Then all of a sudden Brett Gaurette and Dwayne Fe|ong went over to
the lockers, and Brett Gaurette asked ”only me” to open my locker.
Naturally several of the tools that he had gave us to perform our job
tasks with were in my locker. Neverthe|ess (and amazing|y) in an
accusatory voice Brett Gaurette asked ”what are those, J”?

5-

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 11 of 35

27. | responded that those are the tools that you gave to us to do our job
tasks with. That ended that. Then there were his acts of racial
favoritism towards Mike Stubbs, and Dwayne Fe|ong. For example,
lunch was from 12:00 p.m. to 12:30 p.m. every day. However, every
Friday Brett Gaurette allowed l\/like Stubbs to leave and go to lunch at
11:30 and return at 1:00 to have lunch with his girlfriend.

28. However, if either the P|aintiff or Wil|ie Randall returned from lunch
just a few minutes late he would threaten to fire us. He also allowed
l\/like Stubbs and Dwayne Fe|ong excessive absences from work and
excessive tardiness without even calling in to say that they would not
be coming in, or that they would be late. |n fact, the situation with
excessive absences from work became so bad with both Mike Stubbs
and Dwayne Fe|ong that Andrew Ga||ina, the owner of Ga||ina
Deve|opment Corporation threatened to fire both l\/like Stubbs and
Brett Gaurette if Brett Gaurette did not put an end to it. The period of
time in which Mike Stubbs was excessively absent from work can be
shown from RBA Staffing payroll records, because the temporary
workers did not receive pay for days missed from work.

29. However, whenever the P|aintiff or Wi|lie Randall would miss a day of
work once again Brett Gaurette would threaten.to fire us. lt was the
same thing when it came to who he would allow to take materials that
were being discarded home from the job site.

30. For example, he would allow Mike Stubbs to take the wood and two by
fours that we would remove from the walls almost every day to sell to
other individua|s. He would also allow l\/like Stubbs to take copper
coi|ing that we removed from the radiators after we cleaned them.

31. However, if the P|aintiff or Wi|lie Randa|l wanted to take something he
would always say l‘that's Ga||ina property, trash it" or in the case of the
copper coils he would say that the copper had to be kept and stored in
a room on the 22nd floor.

6.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 12 of 35

32. Brett Gaurette also expected the P|aintiff and Wil|ie Randall to clean up
the dry wall or wooden debris left on the floors by |\/like Stubbs and
Dwayne Fe|ong. The P|aintiff and Wil|ie Randall would always do this
without complaint.

33. One day Brett Gaurette fired Wil|ie Randa|l, because he refused to
clean up dry wal|, wooden debris, and pipes that Dewayne Fe|ong had
left on the floor.

34. According to Wil|ie Randall when he returned to RBA Staffing after
Brett Gaurette told him not to come back after this incident, he lodged
a verbal complaint of racism against Brett Gaurette for firing him for
not cleaning up Dwayne Fe|ong's debris. RBA Staffing in return
contacted the Human Resources department of Ga||ina Deve|opment to
report Wil|ie Randa|l's complaint against Brett Gaurette, but did not
reprimand Brett Gaurette with respect to Wi|lie Randa|l’s complaint
against him. l know this because Brett Gaurette was angry and
complaining for having been confronted by one of Andrew Ga||ina's
sons about Wi|lie Randa||'s complaint of racism by Brett Gaurette.

35. |n fact, Brett Gaurette used to brag to the predominantly white
employed contractors about his repeatedly firing the African-American
construction laborers who had been sent to work at the Metropo|itan.

36. After Dwayne Fe|ong quit RBA Staffing sent another African-American
named Thomas Lathrop to replace Dwayne Fe|ong at the Metropo|itan.
By this time, Brett Gaurette had allowed |\/like Stubbs to resume leaving
for lunch at 11:30 a.m. and returning from lunch at 1:00 p.m. on Fridays
so that l\/|ike Stubbs could have lunch with his girlfriend.

37. Thomas Lathrop used to call in absent from work several times on
l\/londays. One day Brett Gaurette told him that if he continued to call
in absent on l\/londays that he would be fired. However, Brett Gaurette
never threatened to fire i\/like Stubbs for his excessive absences from
work.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 13 of 35

38. Upon information and belief, Brett Gaurette bought the P|aintiff tools,
and began falsely accusing me of stealing from the contractors as a
pretense to wrongfully terminate me from the Defendant's job site at
the Metropo|itan, because of my race and also because of my criminal
record.

39.For example, one day Brett Gaurette came ”onlg” to the P|aintiff and
said that the contractors were complaining that their cups of coffee
were allegedly being stolen from the floors that they were working 0n.
He pointed to an empty coffee cup that was sitting on top of one of the
garbage cans on the 16th floor and said that the contractors told him
that their cups of coffee that were allegedly being stolen were in w
'ust like those”. The P|aintiff told Brett Gaurette that coffee was sold in
cups just like that in every corner store downtown.

40. After that incident, and while were still doing demolition work on the
16th floor Brett Gaurette again came ”onlg” to me and claimed that one
of the contractors told him that a bowl of cereal had been stolen from
the floor that they were working on. l told Brett Gaurette that | did not
know anything about it. There was an empty bowl sitting on one of the
radiators on the 16th floor. Brett Gaurette stated to me that the
contractors had told him that the cereal was in a bowl just like the one
that was sitting on the radiator. l told Brett Gaurette that that was Mike
Stubbs's bowl that he ate out of every day.

41. The camera that Brett Gaurette installed on the 16th floor was aimed at
a refrigerator that was on the 16th floor which some of the contractors
put their food in. Brett Gaurette would come to ”onlg” the P|aintiff
whenever he claimed that he was allegedly continuing to get
complaints about food being stolen out of the refrigerator, However, in
addition to the fact that contractors kept food in the refrigerator on the
16th floor, the refrigerator was also right next to the microwave oven
that the contractors with other companies working on other floors had
unfettered access to.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 14 of 35

42.The camera that Brett Gaurette installed on the 16th floor was also
aimed directly at the tool room on the 1th 16th floor at that time that
the temporary agency construction laborers used to get tools to
perform job tasks.

43. There were still occasions when certain tools that were needed for the
P|aintiff to complete or perform myjob tasks would not be foreseeable
to me because l would run into a situation in which | would not have
the too|(s) needed to perform a certain job task, or because another
one of the temporary construction laborers would be using a tool that l
would need.

44. |n those situations the P|aintiff would have to go to the tool room on
the 16th floor to retrieve the necessary tool or tools needed to perform
a job task, On each and every occasion after l would return to the floor
that the temporary construction laborers were working on, Brett
Gaurette would come and ask me why was l going on the 16th floor to
the tool room to get too|s. Therefore, | realized that in addition to
watching the refrigerator that was allegedly having food stolen out of
it, Brett Gaurette had also bought the camera to put on the 16th floor
to aim at the tool room so that he could watch me whenever l came on
the 16th floor to retrieve tools from the tool room.

45. Brett Gaurette would confront the P|aintiff several times to ask me
why | was getting tools from the tool room when he had provided me
with tools, l would explain to him that | needed a certain tool that he
had not provided me with to perform a certain job task, or that the tool
that l needed was being used by one ofthe other construction laborers.

46. On lune 29th, 2017 after l returned from the tool room on the 16th floor
from getting a tool that l needed to perform a job task, Brett Gaurette
came on the floor that l was working on and began yelling and
screaming at me for going to the tool room to get tools.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 15 of 35

47. | recognized Brett Gaurette’s demeanor as an attempt to get me into a
physical confrontation with him. As usual, however, | would calmly
explain to him that if he did not provide me with the tool that l needed,
or that the tool that l needed was being used by one of the other
temporary construction laborers, that meant that l had to go to the tool
room to get the tool that | needed.

48. Brett Gaurette became violently angry and he kicked over the tool cart
that l had my tools on yelling and screaming at me ”that's bullshit l gave
you tools to do yourjob with”.

49. l then asked Brett Gaurette why was he yelling and screaming at me
and he made a move as if he was attempting to physically attack me, at
which time l told him that if he thought that he was intimidating me he
was mistaken.

50. The next day, on June 30, 2017 after | got my tool cart from the 16th
floor tool room and went to the floor that l was working on, Brett
Gaurette came and said that he needed to talk to me.

51. We went to the 16th floor and Brett Gaurette told me that he was
sending me back to RBA Staffing. | asked him why and Brett Gaurete
said ”c'monl | know more than you think | know. You're stealing food
from the contractors, and you are leaving cigarette butts on the floor”.

52.First of a||, l never stole any food from anyone at the Metropo|itan or
anywhere else. Second of al|, Brett Gaurette never witnessed me steal
any food from anyone at the Metropo|itan.

53.With respect to his allegations that l was leaving cigarette butts on the
on the floor of the 16th floor, Brett Gaurette never witnessed me
smoking cigarettes on the 16th floor or anywhere else, because l don’t
even smoke and Brett Gaurette knew that. Second of a||, the camera
that he had placed on the 16th floor was not even located on the side of
the 16th floor where he claimed that cigarette butts had been put out
on, and therefore Brett Gaurette would have never observed me on
camera anyway allegedly putting out cigarette butts on the floor.

lO

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 16 of 35

54. However, there were cigarette butts put out on all of the floors that
the predominantly white contracting crews were working, and Brett
Gaurette never complained about that.

55. Furthermore, Brett Gaurette would personally witness the white
contractors smoking cigarettes down in the dock area and once again
he would say nothing. ln fact, the white contractors had left so many
cigarette butts on the floor of the dock area that Andrew Ga||ina
ordered him to have the dock floor swept every day by a black
temporary construction laborer named lames Crawford from People
Ready temporary agency.

56. Mike Stubbs, Brett Gaurette's caucasian friend smoked all over the
building without any complaint from Brett Gaurette. |n any event, the
security cameras down in the dock area can confirm that the white
contractors smoked on the clock all of the time, and that Brett Gaurette
would sometimes witness them doing so without any consequences to
them or without any complaints from Brett Gaurette to the companies
that they worked for about them doing so.

57. l went back to RBA Staffing, and like Wil|ie Randal| before me l lodged a
verbal racial discrimination and employment discrimination complaint
with them against Brett Gaurette. l informed RBA Staffing that Brett
Gaurette sent me back to RBA Staffing by falsely accusing me of
stealing food from the white contractors, and also by falsely accusing
me of putting cigarette butts out on the floor even though he knew that
| don’t smoke.

58. ln fact, when Brett Gaurette attempted to get me into a fight with him
allegedly about me going to the tool room to get tools, that confirms
and corroborates that he knew that he was falsely accussing me of
stealing food from the white contractors as a pretense to conceal that
his real reasons for terminating me from the temporary construction
laborer position at the Metropo|itan was motivated by racism, and
motivated by him knowing that | have a criminal record.

ll

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 17 of 35

59. Specifica||y, the only way that Brett Gaurette would have been able to
repeatedly confront me about going to the tool room on the 16th floor
to get tools, would have been from seeing me doing so on the camera
that he had aimed at both the refrigerator and the tool room on the
16th floor.

60. Therefore, the facts that have been recited by show that Brett
Gaurette would have been able to observe me stealing food from the
refrigerator on the same camera that he had aimed at the tool room,
and that Brett Gaurette knew that he was falsely accusing me of
stealing food from the white contractors.

61. According to RBA Staffing, they were going to contact the defendant's
Human Resource Department to speak with them about the actions of
Brett Gaurette. lf they did, then once again the defendant continued an
established pattern of disregarding Brett Gaurett's blatant display of
racism towards temporary black construction laborer's. Specifically, just
as the defendant did not subject Brett Gaurette to any disciplinary
action for having terminated Wil|ie Randall although the defendant
knew that Brett Gaurette’s reason for terminating Wil|ie Randal| had
been based on racism, the defendant also did not subject Brett
Gaurette to any disciplinary reason for terminating me because the
defendant knew that Brett Gaurette’s reasons for having done so were
false‘and made on a pretense to conceal that his reasons for having
terminated me were based on racism, and discrimination against me
for having a criminal record.

12.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 18 of 35

62.|n my case, if RBA Staffing contacted the defendant's Human Resource
department about the P|aintiff's verbal complaint of racism by Brett
Gaurette the defendant did not subject Brett Gaurette to any employee
disciplinary action with respect to my complaint, although they were
clearly aware that Brett Gaurette’s grounds for having terminated the
P|aintiff from the defendants job site at the Metropo|itan were false
and pretextual, and therefore based on both racism, and
discrimination against me because l have a criminal record, just as the
defendant was aware that Brett Gaurette had terminated Wil|ie
Randa|| from its construction job site at the Metropo|itan based on
racism.

63. Brett Gaurette never told the defendant that the P|aintiff had been
allegedly stealing food from the white contractors or that the P|aintiff
had been allegedly putting cigarette butts out on the 16th floor or any
other floor in the Metropo|itan prior to terminating me on June 30th,
2017, because if he would have then the defendant would have
terminated me, or authorized him to terminate me for doing so long
prior to the time that Brett Gaurette terminated me from the
defendants job site at the Metropo|itan.

64. Likewise, Brett Gaurette had never filed any complaints with RBA
Staffing alleging that the P|aintiff had allegedly been stealing food from
the contractors or putting cigarette butts out on the 16th floor or any
other floor in the Metropo|itan, prior to the day that he terminated the
P|aintiff from the defendant's job site at the Metropo|itan on lune 30th,
2017, because if he would have then RBA Staffing would have
terminated me before lune 30th, 2017.

65. Since the time that Brett Gaurette terminated the P|aintiff from the
defendant's job site under a pretext, he has been violent verbal
confrontations with other African-American temporary workers named
Chas Patterson from rba Staffing, and an individual named Terrance
from People Ready Staffing.

13.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 19 of 35

66. The incidents of violent verbal confrontations between Brett Gaurette
with two other black temporary agency construction laborers since the
time that he terminated me from the defendants job site at the
Metropo|itan shows an established pattern of behavior of on the part
of Brett Gaurette of getting involved in violent confrontations with only
black temporary agency employees being sent by temporary agencies
to work at the defendant's job site at the lV|etropo|itan.

67. Specifica||y, Brett Gaurette has never gotten into any verbal or near
physical altercations with the white temporary construction laborer
named |\/like Stubbs, he never got into any violent verbal or near
physical confrontations with DeWayne Felong, and he has never gotten
into violent verbal confrontations or near physical confrontations with
any of the white employees working for the contractors at that the
defendant has hired to work at the Metropo|itan although he has
personally witness them smoking in the Metropo|itan.

68. Likewise, the facts that have been recited by me herein also shows an
established pattern of behavior on the part of the defendant of
knowingly acquiescing in, and of giving tacit approval to the racist
behavior of Brett Gaurette, and the hostile racist work place
harrassment that Brett Gaurette subjects only black men to that have
been sent by temporary agencies to work as construction laborers at
the defendant's job site at the Metropo|itan.

69. Specifica||y, just as the defendant failed to do so in the incidents
involving myself and Wil|ie Randa|l, again the defendant did not
subject Brett Guarette to any disciplinary measures for his actions of
attempting to engage Chas Patterson and Terrance in a fight despite
their knowledge of Brett Gaurette’s clear established pattern of
subjecting black temporary agency construction laborer’s working at
the defendant's job site at the Metropo|itan to a hostile working
environment by arbitrarily terminating them from the defendants job
site at the Metropo|itan, and/or by attempting to draw them in violent
physical confrontations despite knowing that Brett Gaurette’s actions
towards black temporary workers was and is racially motivated, and in
my case also motivated by my criminal record both of which are illega|.

\Li_

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 20 of 35

70. The plaintiff has also been wrongfully terminated from RBA Staffing as
a result of the defendant's racial and employment discrimination
against me because of my criminal record, because RBA Staffing
terminated me based on Brett Gaurett's per se slanderous pretexts to
conceal that the real reasons for his actions towards me were based on
racism, and the fact that l have a criminal record despite knowing that
doing so was and is illegal.

71. Specifica||y, after my wrongful termination from the defendant's job
site at the l\/|etropolitan l subsequently sought assistance from the
Department of Social Services (DSS). DSS required the P|aintiff to
provide them with a statement from RBA Staffing explaining why l was
no longer employed with them.

72. RBA Staffing provided the P|aintiff with a statement alleging that the
P|aintiff was no longer employed with them, because the P|aintiff's
assignment with their company had ended (See P|aintiff's Exhibit ).

73. The following facts, however, based on information and belief are
going to show that on or about lu|y 28, 2017, the defendant told RBA
Staffing to tell DSS that | am no longer employed with RBA Staffing
because my assignment with them came to an end as a pretext to cover
up the fact that RBA Staffing knew that the true reason for my
termination by Brett Gaurette from the defendants job site at the
Metropo|itan was based on Brett Gaurette’s per se slanderous and
slanderous pretexts to try and cover up his racial discrimination against
me and his employment discrimination against me based on my
criminal record.

74. First of a|l, when RBA Staffing sent me to the defendant's job site at
the Metropo|itan to work as a temporary general construction laborer,
RBA Staffing told me that the assignment was indefinite until the
development of the building into apartments and retail was finished,
and that my assignment there could last as much as three to four years
if | wanted it to.

15.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 21 of 35

75. Second of al|, the white temporary worker named l\/like Stubbs that
RBA Staffing sent to the defendant's job site at the Metropo|itan was
sent there by RBA Staffing from the very beginning of the project,
which has been for more than two years now and as of the filing of this
civil action Mike Stubbs is going on his third year working at the
defendant's job site at the Metropo|itan as of l\/lay of 2018.

76. The P|aintiff had an excellent attendance record working at the
defendant's job site at the Metropo|itan, and therefore the P|aintiff
never received any warnings from Brett Gaurette either written or
verbal about the P|aintiff's attendance. Nor did either the defendant or
RBA Staffing ever receive any complaints written or verbal from Brett
Gaurette complaining about the P|aintiff's work attendance.

77. The defendant cannot say the same for Mike Stubbs who the
defendant almost fired at one point due to a very poor attendance
record, amongst other things, that were discovered by the defendant
from the time sheets that the temporary agency construction laborers
filled out.

78. Specifica||y, the defendant learned of l\/|ike Stubbs' poor attendance
from observing the time sheets that the temporary agency construction
laborers were submitting every week. |n fact, Brett Gaurette stated that
the defendant asked him ”why is lason the only one turning in time
sheets with 40 hours every week?”. l\/like Stubbs' poor attendance was
not the only factor in his almost being fired by the defendant, but also
because of preferential treatment showed to |\/like Stubbs by Brett
Gaurette.

79. For example, the defendant had discovered from observation that for
several months Brett Gaurette had been allowing Mike Stubbs to leave
work 45 minutes earlier, with pay, than myself and the other
construction laborers working there at the time before the defendant
put a stop to it.

16.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 22 of 35

80. The defendant also discovered from observation that for several
months Brett Gaurette had also been allowing l\/|ike Stubbs to leave for
lunch a half hour sooner than the rest of the construction laborers on
Fridays, and return from lunch a half hour later than the other
construction laborers working there at the time, with pay.

81. ln addition to having an excellent attendance record, the P|aintiff was
never late reporting for work at the defendants job site at the
Metropo|itan which is confirmed from the fact that Brett Gaurette
never issued any warnings, verbal or written, to the P|aintiff about
tardiness. Nor did Brett Gaurette ever lodge any complaints about the
P|aintiff being tardy with either the defendant, or with RBA Staffing.

82. Facts that l have already recited herein show that Brett Gaurette never
lodged any Written or verbal complaints with the defendant or RBA
Staffing alleging that the P|aintiff was stealing prior to lune 30th, 2017.
Likewise, the facts that l have already recited herein also show that
Brett Gaurette never lodged any complaints with either the defendant
or with RBA Staffing alleging that the P|aintiff was smoking inside of the
Metropo|itan prior to lune 30th, 2017.

83. The aforementioned facts that have been recited by the P|aintiff show
that RBA Staffing itself, had no reason to end my assignment with
wither RBA Staffing or with the defendant.

84.Therefore, based on the aforementioned information that the P|aintiff
has recited, the P|aintiff believes that the facts show that on or about
Ju|y 28, 2017, that the defendant told RBA Staffing to provide DSS with
the statement alleging that l am no longer employed with them
because my assignment had ended which the defendant could use as a
pretext to cover up that the real reasons for the P|aintiff's termination
by Brett Gaurette from the defendants job site at the Metropo|itan
was because of racism and employment discrimination based on my
criminal record.

17.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 23 of 35

85. Unless RBA Staffing is itself making an admission to a racially motivated
discriminatory employment practice towards the P|aintiff by treating
my terms of being employed at the defendant's job site at the
Metropo|itan differently from the same identical terms as the caucasian
|V|ike Stubbs' terms of being assigned at the defendant's job site at the
Metropo|itan, the facts show that RBA Staffing's termination of the
P|aintiff's employment with them was not because RBA Staffing had
ended the P|aintiff's assignment at the defendants job site at the
Metropo|itan.

86. ln summary, based on the information that has been recited by the
P|aintiff in the aforementioned paragraphs... the P|aintiff believes that
the facts show that RBA Staffing granted the defendants request to
falsely state in the letter to DSS that l was no longer employed with RBA
Staffing because my assignment had ended that the defendant could
use as a pretext to conceal that t re defendant acquiesced in Brett
Gaurette’s pretext per se slanderous allegations, and also in Brett
Gaurette’s pretext intentional, negligent, and malicious slanderous
allegations to conceal that Brett Guarette's actions towards the P|aintiff
were based on racial discrimination, and employment discrimination
because | have a criminal record.

F|RST CAUSE OF ACT|ON
(Racia| Discrimination in violation of Title V|| of the
Civil Rights Act of 1964, 42 U.S.C. 2000, et. seq.)

87. The foregoing paragraphs are re alleged and incorporated by
reference herein.

88. By the actions detailed above, among others, the defendant has been
discriminated against the P|aintiff because of my race in violation of
Title V|I of the Civil Rights Act of 1964, 42 U.S._C. 2000, et. seq, by
subjecting the P|aintiff to a hostile workplace environment because of
my race.

18.

Case 6:18-Cv-06229-C.]S Document 1 Filed 03/20/18 Page 24 of 35

89. As a direct and proximate result of Defendants’ unlawful and
discriminatory conduct in violation of Title Vll of the Civil Rights Act of
1964, 42 U.S.C. 2000,' et. Seq, the P|aintiff has suffered and continues to
suffer, monetary and/or economic harm, for which l am entitled to an
award of damages.

90. As a direct and proximate result of unlawful and discriminatory
conduct in violation of Title Vll of the Civil Rights Act of 1964, 42 U.S.C.
2000, et. Seq; the P|aintiff has suffered, and continues to suffer, mental
anguish and emotional distress, for which the P|aintiff is entitled to an
award of damages.

91. Defendants' unlawful and discriminatory action against the P|aintiff
constitutes malicious, willful and wanton violation of Title Vll of the
Civil Rights Act of 1964, 42 U.S.C. 2000, et. Seq, for which the P|aintiff is
entitled to an award of damages.

SECOND CAUSE OF ACT|ON
Wrongfu| Termination in violation of Title Vll of the
Civil Rights Act of 1964, 42 U.S.C. 2000, et, seq.

 

92. The foregoing paragraphs are real|ged and incorporated by reference
herein.

93. By the actions detailed above, among others, the P|aintiff was
wrongfully terminated by the defendant because of my race, and also
because of my criminal record, in violation of Title Vll of the Civil
Rights Act of 1964, 42 U.S.C. 2000, et,l seq.

94. As a direct and proximate cause of the defendant's unlawful and
discriminatory conduct in violation of Title Vll of the Civil Rights Act of
1964, 42 U.S.C. 2000, et. Seq; the P|aintiff has suffered and continues to
suffer, monetary and/or economic harm, for which l am entitled to an
award of damages.

19.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 25 of 35

95. As a direct and proximate cause of the defendant's unlawful and
discriminatory conduct in violation of Title Vll of the Civil Rights Act of
1964, 42 U.S.C. 2000, et. seq; the P|aintiff has suffered and continues
to suffer, mental anguish and emotional distress, for which lam
entitled to an award of damages.

96. Defendant's unlawful and discriminatory actions against the P|aintiff
constitutes malicious, willful, and wanton acts against the P|aintiff in
violation of Title Vll ofthe Civil Rights Act of 1964, 42 U.S.C. 2000, et.
seq; for which the P|aintiff is entitled to an award of damages.

Third Cause of Action
Employment Discrimination in violation
of Title Vll of the Civil Rights Act of 1964
42 U.S.C. 2000, et. seq.

 

97. P|aintiff hereby repeats, reiterates, and re-alleges each and every
allegation in each of the preceding paragraphs as if fully set forth
herein,

98. By the actions detailed above, among others, the defendant has
discriminated against the plaintiff in violation of Title Vll of the Civil
Rights Act of 1964, 42 U.S.C. 2000, et. seq; because the P|aintiff was
terminated by the defendant from its job site its at the Metropo|itan
based on the P|aintiff's criminal record.

99.As a direct and proximate result of the defendant's unlawful and
discriminatory conduct in violation of Title Vll of the Civil Rights Act of
1964, 42 U.S.C. 2000, et. seq. plaintiff has suffered and continues to
suffer monetary and/or economic harm for which the P|aintiff is
entitled an award of damages.

20.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 26 of 35

100. As a direct and proximate result of the defendant's unlawful and
discriminatory conduct in violation of Title V|| of the Civil Rights Act of
1964, 42 U.S.C. et. seq. the plaintiff has suffered and continues to suffer
mental anguish and emotional distress to which | am entitled an award
of damages.

101. Defendant's unlawful and discriminatory actions against the P|aintiff
constitutes malicious, willful, and wanton acts against the P|aintiff in
violation of Title Vll of the Civil Rights Act of 1964, 42 U.S.C. 2000 et.
seq, for which the P|aintiff is entitled to an award of damages.~

Fourth Cause of Action
Racial Discrimination in violation of NYSHRL

102. P|aintiff hereby repeats, reiterates, and re-al|eges each and every
allegation in each of the preceding paragraphs as if fully set forth
herein.

103. By the actions detailed above, among others, the defendant has
discriminated against the P|aintiff in violation of the NYSHRL by, inter
alia, denying the P|aintiff the equal terms and conditions of
employment as the white temporary agency construction laborer Mike
Stubbs, and subjecting me to a hostile work environment based on the
P|aintiff's race and criminal record.

104. As a direct and proximate result of the defendant's unlawful
discriminatory conduct in violation of the NYSHRL, the P|aintiff has
suffered, and continues to suffer monetary, and/or economic harm the
P|aintiff is entitled to an award for damages.

105. As a direct and proximate result of the defendant's unlawful
discriminatory conduct in violation of the NYSHRL, the P|aintiff has
suffered, and continues to suffer mental anguish and emotional distress
for which the P|aintiff is entitled to an award for damages.

21.

Case 6:18-cv-06229-C.]S Document 1 Filed 03/20/18 Page 27 of 35

Fifth Cause of Action
Employment Discrimination in violation of NYSHRL

 

106. P|aintiff hereby repeats, reiterates, and re-a||eges each and every
allegation in each of the preceding paragraphs as if fully set forth
hereinl

107. By the actions detailed above, among others, the defendant has
discriminated against the P|aintiff in violation of the NYSHRL by, inter
olia, denying me the equal terms and conditions of employment as the
white temporary agency construction laborer, Mike Stubbs, because of
the P|aintiff's criminal record.

108. As a direct and proximate result of the defendant's discriminatory
conduct in violation of the NYSHRL, the P|aintiff has suffered, and
continues to suffer, monetary and/or economic harm for which the
P|aintiff is entitled to an award of damages.

109. As a direct and proximate result of the defendant's discriminatory
conduct in violation of the NYSHRL, the P|aintiff has suffered and
continues to suffer mental anguish and emotional distress for which the
P|aintiff is entitled to an award of damages.

Sixth Cause of Action
Per Se S|ander
110. P|aintiff hereby repeats, reiterates, and re-a||eges each and every
allegation in each of the preceding paragraphs as if fully set forth
herein.

 

111. By asking RBA Staffing to falsely claim that the P|aintiff was
terminated from employment with RBA Staffing because the P|aintiff's
assignment had ended, the facts show that the defendant did so in
order to conceal that the defendant had told RBA Staffing that Brett
Gaurette terminated the P|aintiff from the defendant's job site at the
Metropo|itan for stealing.

22.

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 28 of 35

112. The aforesaid per se slanderous statement made by the defendant
was and is false and was not privileged Defendant made said
statement to RBA Staffing knowing the falsity thereof and without using
reasonable'care to determine the truth of or falsity thereof.

113. The defendant made the aforesaid per se slanderous false statement
with intentional and deliberate negligence, and with intentional malice
, with the intent to injure the P|aintiff's good name and reputation and
to interfere with the P|aintiff's ability to remain employed with RBA
Staffing in that the defendant harbored discriminatory racist ill-will
toward the P|aintiff based on the P|aintiff's race, discriminatory ill-will
toward the P|aintiff based on the P|aintiff's criminal record,
discriminatory ill-will toward the P|aintiff based on the per se
slanderous and false belief that the P|aintiff was stealing food from the
contractors.

114. The aforesaid per se slanderous false and unprivileged statement has
harmed the P|aintiff's reputation with RBA Staffing, because such
statement has a tendency to injure, has in fact injured the P|aintiff's
reputation with RBA Staffing and has in fact injured the P|aintiff in his
occupation as an employee with RBA Staffing, and his future
employment prospects with RBA Staffing has been severely harmed
because RBA Staffing has terminated the P|aintiff as a result of
acquiescing and believing the defendant's per se slanderous false
allegation that the P|aintiff was stealing food from the white
contractors.

Seventh Cause of Action.
intentional infliction of Emotional Distress

 

115. The P|aintiff repeats, reiterates, re-a||eges and incorporates by
reference that allegations in paragraphs 108 to 112 shows with the
same force and effect as if herein set forth.

23.

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 29 of 35

116. Defendants negligently, intentionally and deliberately with malice,
inflicted emotional distress on the P|aintiff by making per se slanderous
false allegations about the P|aintiff to the P|aintiff's employer RBA
Staffing on or about luly 28, 2017, alleging that the P|aintiff was
terminated from the defendants job site at the Metropo|itan for
stealing as a pretext to conceal that the defendants true reason for
terminating the P|aintiff from its job site at the Metropo|itan were
based on racial discrimination, and employment discrimination because
the P|aintiff has a criminal record.

117. As a direct and proximate cause ofthe defendant's extreme and
outrageous conduct, the P|aintiff was, is with a high degree of
|ike|ihood, will continue to be emotionally distressed due to the
defendants intentional, deliberate, negligent, and malicious per se
slanderous false statements to RBA Staffing about the P|aintiff,

118. As a direct and proximate cause of the defendant's extreme and
outrageous conduct, the Plaintiff has suffered and will continue to
suffer mental pain and anguish, severe emotional trauma,
embarrassment, and humiliation.

Eighth Cause Of Action
Neg|igent infliction Of Emotional Distress

119. The P|aintiff repeats, reiterates, re-a||eges, and incorporates by
reference that allegations in paragraphs 108 to 112 with the same force
and effect as if herein set forth: '

120. The defendants negligently and intentionally, deliberately, and with
malice, negligently inflicted emotional distress on the P|aintiff by per se
slanderous false statements about the P|aintiff to the P|aintiff's then
employer RBA Staffing on or about lu|y 28, 2017, alleging that the
P|aintiff was terminated by the defendant from its job site at the
Metropo|itan for stealing as a pretext to conceal that the defendants
true reason for terminating the P|aintiff from its job site at the
Metropo|itan were based on racial discrimination, and employment
discrimination because the P|aintiff has a criminal record.

Z‘i.

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 30 of 35

121. As a direct and proximate cause of the defendant's extreme and
outrageous conduct, the P|aintiff has suffered and will continue to
suffer mental pain and anguish, severe emotional trauma,
embarrassment, and humiliation.

PRAYER FOR REL|EF
P|aintiff prays for relief as follows:

1) For economic damages, to be proven at tria|.

2) For general and compensatory damages, to be proven at trial.

3) For exemplary and punitive damages to be proven at triai.

4) For interest on all sums awarded at the maximum allowable rate.

5) For such other and further relief as the Court may deem just and proper.

Ninth Cause of Action
S|ander

122. The P|aintiff hereby repeats, re iterates, re alleges and incorporates
by reference that allegations in paragraphs 114-131 shows with the
same force and effect as if herein set forth.

123. The defendant intentionally, deliberately, negligently, and with
malice inflicted emotional distress on the P|aintiff by making false
statements about the P|aintiff to the P|aintiff's employer RBA Staffing
as a pretext to conceal that the defendant's true reasons for
terminating the P|aintiff from its job site at the Metropo|itan were
based on racial discrimination, and employment discrimination because
l have a criminal record.

25.

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 31 of 35

124. As a direct and proximate cause of the defendants extreme,
malicious, and outrageous conduct the P|aintiff was, and with a high
degree of iikelihood, will continue to be emotionally distressed due to
the defendants intentional, deliberate, negligent, and malicious
slanderous statements to RBA Staffing about the P|aintiff.

125. As a direct and proximate cause of the defendants extreme,
malicious, and outrageous conduct the P|aintiff was, and with a high
degree of iikeiihood, will continue to be emotionally distressed due to
the defendants intentional, deliberate, negligent, and malicious
slanderous statements to the P|aintiff's then employer, RBA Staffing
about the Plaintiff.

PRAYER FOR REL|EF

P|aintiff prays for relief as follows:
(1) For economic damages , to be proven at trial
(2) For general and compensatory damages, to be proven at trial
(3) For exemplary and punitive damages to be proven at trial
(4) For interest on all sums awarded at the maximum allowable rate
(5) For other and such further relief as the Court may deem just and proper.

Dated: @/:90// §/

26.

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 32 of 35

VER|F|CAT|ON
lason Ba|kum, being duly sworn, deposes and says:

| am the P|aintiff in the above entitled action. l have read the foregoing
Complaint and know the contents thereof. The same are true to my knowledge,
accept as to matters therein stated to be alleged on information and belief and as
to those matters, l believe them to be true.

a “/. ncaa z/a// /
//

L,/

Sworn to before me this
”2¢) day of l"l<¢ rC le , 2018.

W:W il l/<W@ 27.

7~»~...._~_-_._ ..___ ._

F inwiN H. HAnnis
l\lotary Public` State ot New Y

Oual:.".ed in ivioritoe Court y <\{._
My Corr.rr.-tssion expires ' ? a

 

_¢..

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 33 of 35

EEOC Fonn 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNlTY COMM|SS|ON

 

DtlessAL ANn NoricE oF RiGHTs

 

TO¢ Jason T. Ba|kum Fr°m! Buffa|o Local Office
468 Tremont Street 6 Fountain Piaza
Rochester, NY 14608 Suite 350

Buffalo, N¥ 14202

 

l:| On behalf of petson(s) aggrieved whose identity is
CONF/DENT/AL (29 CFR §1601.7(3))
EEOC Charge No. EEOC Representative Telephone No.

Beth Anne Breneman,
525-201 7-00763 investigator Support Assistant (716) 551-4444

 

THE EEOC |S CLOS|NG lTS F|LE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to tile your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be constmed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU El]El:ll:l

Other (briefly state)

- NOT|CE OF SU|T RiGHTS -
(See the additional information attached to this fonn.)

Title Vil, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed W|TH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
iost. (The time limit for filing suit based on a claim under state law may be different.)

Equai Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years 13 yearsi
before you file suit may not be coilectible.

n behalf of the Commission

 

/"" -4

Enciosures(s) ' John E_ Th°mpson’ (Date Mailed)
Local Office Director

°°i Andrew Ga||ina
President
GALL|NA DEVELOPMENT CORPORAT|ON
1890 South Winton Road, Site 100
Rochester, NY 14618

Case 6:18-cv-O6229-C.]S Document 1 Filed 03/20/18 Page 34 of 35

RBA GREAT R_
STAFF!NG " ` ii ROCHESTER

ct division of ~Mwa.., Cha'mber of Commerce

l>-

 

 

 

 

 

July 28, 2017

To whom it may concern;
This letter is in regards to Jason Ba|kum’s (social security number XXX-XX-XXXX) employment through
our agency. His assignment has unfortunately come to an end as ofJune 30, 2017 and is currently not

working through our agency.

Please feel free to contact me with any further questions or concerns in this matter.

Slncerely,

H .
l\/iegan Baldino`~ Uman'SSlFl/ici€t§
Office Administrator AUG
RBA Staffing m 0 1 2017
150 state street ii GCepijon~

Rochester, NY 14614
(585) 256-4630

150 State Street, Sulte 400 Rochester, NY 14614~130 Phone: (585) 244-1800 FaXZ (585) 482-1743 WWW.RBAStafflng.COm

' .n ;j-\t_:j;l_»'.`§;»":.'t
CaSe 6:18-CV-06229-C.]S Documentl Filed.03/20/18 Page 35;`(;5?85 \

v

18 cv 622;9 C.SS twa nn
CIvIL CovER sHEET

The .lS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as'req'uir§'d by law, except as
provided by local rules of _court. This fomi, approved by the .ludicial Conference of the limited States in September 1974, is required for the use of the (`lerk ot`(`ouit for the
purpose of initiating the civil docket sheet. t'SEE INSTRI. '(`TIONS ON NEXT PAGE 0F THJS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
\>q$or\ lo..jo.ll/ibLVi/\ (,-e‘(((n¢\ bci/g (gpmch`f. Ca\cf°.

(b) County of Residence of First Listed Plair.tiif County of Rcsidcnce of First Listed Defendant M a n f_‘ct Q_,
(EXCEPT]N U.S. PLA]NT]FF CASES) (IN U.S. PLAINT]FF (`ASES oNL l')

IN LAND CONDEMNATION CASES. USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

JS 44 (Rev. 06/17) \`

*e

 

C/L

NOTE:

(C) AttOmeys (Fit~m Name, Add/'ess. and Telephom’ Number) AUOI`n€yS ll/'KHO“'")

~l¢<$on %a\ldwvn l°v=» 51 Cs-ss§ z§/~/%??

U/{ fhwa ¢-»
Lila 8 'T`r'emcm*=

 

 

RM/V\ew".» l\l~"(` - llflt'@?'
II. BASIS OF JURISDICTION (}’/at:e an ".\"' tn()nt.'l:lt).\‘ ()nl_\j III. CITIZENSHIP OF PRINCIPAL PARTIES (l’lat't' an "X" in ()nl.’ Bo,\'far }’lamliff
(ForDi\'ersiry (`nses Onl_\') and One Ba.\'jot'De_/`endant}
El 1 U.S. Govemment Ci 3 Federal Question l?/ DEF PTF DEF
P|aintiff (U.S. GavernmemNot a Part_r) Citizen of'i`his State 1 B/l incorporated orPrincipal Place Ci 4 EJ 4
of Business In This State
Cl 2 U.S. Govemmcm Cl 4 Diversity C`itizen ofAnotl\er State CJ 2 ij 2 incorporated and Principai Place D 5 Cl 5
Defendant (lndi¢'ate (`iti:enship q/`Parties in ltem ]]]) of Business ]n Another State
Citizen or Subjeci of a Cl 3 Cl 3 Foreign Nation C| 6 ij 6
nme

 

 

IV. NATURE OF SUIT (l’lace an "A"' inn()ne. Bo.\' ()nl_v)

 

 

Click here for: Nature o 7

 

m3 ,I_L\R 'E,» .TY

 

i comch , ToRE , , ,

Cl 1 10 insurance PERSONAL INJURY PERSONAL INJURY

El 120 Marine 0 310 Airplane 13 365 Personal Injury -

D 130 Miller Act D 315 Aixplane Producl Product Liability

` ij 140 Negotiable instrument Liability Cl 367 Heaitii Care/

Cl 150 Recovery of Overpayment lJ 320 Assault, Libel & Phannaceutical
& Enforcement ofJudgment Slander Personal Injury

Cl 151 Medicare Act lJ 330 Federal Employers` Product Liability

Cl 152 Recovery of Dcfaulted Liability lJ 368 Asbestos Personal
Student Loans Ci 340 Marlne Injury Product
(Excludes Veterans) Cl 345 Marine Product Liability

153 Recovery of Overpayment Liability PERSONAL PROPERTY f

of Veteran`s Benefits
160 Stockholders’ Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

ClElClCi U

0 350 Motor Vehiclc
Cl 355 Motor Vehicle

M` § KRQ Pl'C` Y ,

 

ij 625 Dmg Re|atcd Seizure
ofProperty 21 USC 881
ij 690 Otlier

Cl 422 Appea128 USC 158
Cl 423 Withdrawal
28 USC 157

' ' _(i§id§ii*

D 820 Copyrights

ij 830 Patent

Ci 835 Patent - Abbreviatcd
New Dnig Application

 

 

0 840 Tradematk

 

ij 370 Oiher Fraud
D 371 Truth in Lending

 

l , REAL PROPERTY ,
Cl 210 Land Condemnation

ij 220 Foreclosure

ij 230 Rent Lease &. Ejectmeni

ij 240 Torts to Land

0 245 Tort Product Liability

D 290 All Other Real Property

 

 

Product Liability ij 380 Other Personal

Cl 360 Otl\er Personal Property Damage
injury C`i 385 Property Damage

El 362 Petsonal lnjury - Product Liability

_h;is.dicai Malptactiee
,ClVlL RlGHTS 1 PR|S,ONER PETITIONS
Cl 440 ther Civil Rights Habeas Corpus:
Woiing i:t 463 Aii¢n medina
442 Employment Cl 510 Motions to Vacate

El 443 Housing/ Scntence
Accommodations 13 530 General

El 445 Alner. w/Disabi|iiies - CJ 535 Deatli Pena|ty
Employment Other:

Cl 446 Amer. w/Disabilities - D 540 Mandamus & Other
Other 13 550 Civil Rights

El 448 Education

ij 555 Prison Condiiion

El 560 Civil Detainee -
Conditions of
Continement

 

 

ij 710 Fair Labor Standards
Act

l'J 720 Labor/Management
Relations

Cl 740 Railway Labor Act

Cl 751 Family and Medical
Leave Act

Cl 790 Other Labor Litigation

El 791 Employee Retirement

lncome Security Act

7 ¢IMMIGRATION , ,

EJ 462 Naturalization Application
El 465 Other lmmigration
Actions

0 ssi ulA (1395m
o 862 slack Lung (923)

o 863 Diwc/Drww (405(g))
ct 864 ssio rate xvi

ct sss Rsi aosrg»

FEDE' 1 TAX SUI1`S
Cl 870 Taxes (U.S. Plaintit`f
or Defendant)
C| 871 IRS_Third Party
26 USC 7609

 

ij 375 False C`laims Act

ij 376 Qui Tam (31 USC
3729(3))

El 400 State Reapponionment

Cl 410 Antitrust

D 430 Banks and Banking

D 450 Commerce

EJ 460 Dcportation

Cl 470 Racketeer lnfluenced and
Con'upt Orgauizations

iJ 480 Consumer Credit

Ci 490 CabielSat TV

D 850 Securitieleonunodities/
Exchange

D 890 Otlier Statutory Actions

D 891 Agricultural Acts

|`_'J 893 Envimnmental Matters

13 895 Freedom oflnformation
Act

D 896 Arbitration

Cl 899 Administrative Proccdure
Act/Review or Appeal of
Agency Decision

C| 950 Constitutionaiity of
State Statutes

 

 

 

x

V ORIGIN (l’lace an "X" in One Ba.\' O)rl_i)

‘ 1 Original Cl 2 Removed from ij 3 Remanded from U 4 Reinstated or D 5 Tmnsf¢n-¢d from Cl 6 Multidisirict CI 8 Multidist:rict
Proceeding State Court Appellate Court Reopened Another Disv-ict Litigation - Litigation -
(specrfiy Transfer Direct File

 

(`ite the U.S. Civil Statute under which ou are filing (Do not cite jurisdictional statutes unless diversity):
"l"l-a/"¢ l/// cri fha Cr'a.~`//€/¢,ét‘ ftca 01"' i¢té"f , L/."Q <'/~ ‘)~ C- f)t cercla 2000, 615 st.
/ . f

Brief description of cause:

VI. CAUSE OF ACTION

 

507 /8§/'/4/€"'/ 5 2/: 3 <" /”/ m fn affd-

VII. REQUESTED IN ij cHEcK 11= rHis is A cLAss AcTioN DEMAND $ CHECK YES only if dem;)d/edin complaint
Yes

 

 

 

 

 

COMPLAINT: UNDER RULE 23» F.R-C\'~P- di Qg`, ¢.L-,C; c//;//a re JURY DEMAND: ciNo
VIII. RELATED CASE(S)
IF ANY (s“ im""m'm)" JUDGE DocKET NuMBF.R
DATE SlGNATUR.E OF ATTORNEY OF R.ECORD
FOR OFFlCE USE ONLY
RECEIPT # AMOUNT APPLYING lFP ]UDGE MAG. JUDGE

